Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page1of17 Page ID #242

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS

GERRY ARMBRUSTER, #802006,

Plaintiff, Civil Action No. 3:16-cv-00544-MIR-SCW

“ Judge Michael J, Reagan

WEXFORD HEALTH CARE SERVICE INC, et al, | Magistrate Judge Stephen C. Williams

Defendants.

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

TO: Taylorville Correctional Center
Litigation Coordinator
Route 29 South
P.O. Box 1000
Taylorville, IL 62568

Production, YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and permit their inspection, copying testing, or
sampling of the material: See attached Exhibit A

 

Place: Date and Time:

Cassiday Schade LLP by November 21, 2016
100 North Broadway, Suite 1580
St. Louis, MO 63102

 

 

 

 

-L] Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting

party may inspect, measure, survey, photograph, test, or sample the property or any designated abject or operation
on it,

 

Place: Date and Time:

 

 

 

 

 

The provisions of Fed, R. Civ. P, 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are

attached.
CLERK OF COURT
Signature of Clerk or Deputy Clerk

Date: October 19, 2016
Attorney's Signature

 

 

The name, address, e-mail, and telephone number of the attorney representing (name of party) Vipin Shah, who
Issues Or requests this subpoena, are; Carla G, Tolbert (ctolberti@cassiday.com Cassiday Schade LLP, 100 North
road Suite 1580, St. Louis, MO 63102, (114) 241-1377,

 

EXHIBIT

5 C ARMBRUSTER TCC (CR) 0001
#
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page 2of17 Page ID #243

 

 

 

 

 

 

 

 

 

 

 

 

 

State of Itlinois
Department of Corrections
CUMULATIVE COUNSELING SUMMARY
nimateiRe ride: ese Name . Register Number Current Classification
ARMBRUSTER, GERRY A. 502006 Rofl
] GounseiorfAgent Name *
MAYBERRY, JEFFREY W.
Date/Time Location Type Method StaffiTitle *
10/17/2016 12:35:11 GLINIGAL SERVIGES/TAY Collateral Other JOHNSON, ROBIN J., Office Administrator II
Camments: scheduled phone call with Hoyleton Ministries for 10/18/18
10/17/2018 09:23:09 CLINICAL SERVICES/TAY Collateral Other JOHNSON, ROBIN J., Office Administrator ill
Comments: scheduled iegal call for 10/3/18
10/10/2016 09:52:56 HOUSING UNIT 3/TAY Personal Face To Face §=MATTHEWS, JOSHUAL., Corractlonal Counselor [I
Comments: Appiication for SS card was given to inmate and address.
10/4/2016 09:40:01 CLINICAL SERVICES/TAY Collateral Other JOHNSON, ROBIN J., Office Administrator Ii)
Comments: Scheduled aliorney phone call
9/27/2016 12:27:06 CLINICAL SERVICES/TAY Collateral Other RODGERS. SHARLETTE O., Clinical Services Supervisor
Comments: Offender granted approval fo corraspond with Als brother
9/22/2018 01:53:54 ASSISTANT WARDEN OF Personal Face To Face HUNT, MELISSAS., Office Coordinator
Comments: OPERATIONS OFFICE/TAY

Offender was seen on A/W Zavala's call line. Offender stated that he was thankful he received his car wash job, but was inquiring about
ihe State Loan TV Program, A/W Zavala stated that Lt Franzen is in charge of thal program and it should be implement soon,

 

 

 

 

 

 

9/11/2016 18:33:15 CHAPELITAY Collateral Other KEY, SUSAN L., Offica Associate
Comments: Submiited Angel Tree application G&/0G/06 Bailey Hamilton, Jamie Hilt

9/9/2016 14:09:09 HOUSING UNIT 3/TAY Personal Faca To Face 4 MAYSERRY, JEFFREY W., Correctional Counselor Il
Comments: — Inquired about SSC

9/9/2016 13:16:49  CLINIGALSERVICES/TAY Collateral Other MATTHEWS, JOSHUA L., Corracilonal Counselor I!
Comments: inmate wrote request slip about if his SS card had arrived and response was given he will raceive notification in mail,

9/6/2016 15:29:28 HOUSING UNIT 3/TAY Personal Face To Face MAYBERRY, JEFFREY W., Corractional Counsefor t
Comments: Checked balance.

8/31/2016 13:41:37 GLINIGALSERVICES/TAY = Personal Face To Face MATTHEWS, JOSHUAL., Correctional Counselor II
Comments: inmate was seen in clinical services and was fold his permisson to write bis brother has been approved.

8/1/2016 14:40:20 CLINICALSERVICES/TAY Collateral Other KEY, SUSAN L., Offics Associate

Comments: Scanned paperwork from Attomey after having offender sign and this reporter(Key) witness. Emaifed fo Attomey Ben@oevy.com. Mailed
hardcopy to Attorney 317 N Albertson St, 3rd Floor, Chicago, if 60607

 

 

 

6/4/2016 09:01:22 HOUSING UNIT 2/TAY Personal Face To Face MATTHEWS, JOSHUA L, Correctional Counselor II
Comments: Cheeked trust furid balance,

7/21/2016 08:59:00 CLINICAL SERVICES/TAY Callateral Other KEY, SUSAN L., Office Associate
Conments: Assisted Offender with Attorney phone call fin clinical)

7/18/2016 13:58:22 CLINICAL SERVICES/TAY Collateral Other KEY, SUSAN L., Offica Associate

Comments: scanned paperwork from Attorney affer having offender sign and this reporter(Key) witness, Emailed ta Attorney Ban@Loevy.com. Malied
hardeopy to Attorney 317 N Albertson St. 3rd Floor, Chicago, i 60607

 

 

7718/2016 10:59:23 CLINICAL SERVICES/TAY Collateral Other KEY, SUSAN L., Offica Associate
Comments: forwarded social security app and birth certificate (missouri) to offander
7A 2/2016 09:21:45 CLINICAL SERVICES/TAY Personal Face Ta Face MATTHEWS, JOSHUAL., Correctional Counselor It

Comments: inmate was called over to clinical services and signed request for access to authorization for use and disclosure of protected health
, information. Request was faxed back to 312-243-5902,

 

 

 

7112016 08:38:23 HOUSING UNIT Z/TAY Personal FacaTo Face MATTHEWS, JOSHUAL., Correctional Counselor If
Comments: Ghocked trust fund balance.

6/28/2016 13:57:14 CLINICALSERVICES/TAY Collateral Other MCDOWELL, ADAM R., Correctional Casework Supervisor
Comments: Processed Offendar Visiting List.

6/22/2018 10:11:26 HOUSING UNIT S/TAY Personal Face To Face PERRY, TRACY M., Correctlanal Counsetor i!

Comments: Offender stated he should have a legal CD in ihe maitroom that he wants to view again prior to sending it out to his new ationey’s.
Advised offender that | would see if the mailroom was stil in possession of sald CD.

6/20/2016 14:31:29 CLINICAL SERVIGES/TAY Collateral Other MENSE, ELIZABETH N., Office Associate

Comments: Offender was provided a thirty minute legal call with Attomey Katherine Rache (ARDC# 6321396) from Loevy & Loevy law firm in Chicago.
Ms. Rocha initiafed the telephone call to TCC.

 

10/24/2016 _ Page 1 of 16 “Assigned Counselor/Agent and Staff's titfe is current as of the date of this
DOG 1711 (Rev. 10/86) PC Generated report, not the date of the counseling suimWa@RUSTER TCC (CR} 0002
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page3of17 Page ID #244

State of Illinois
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

 

inna ann @ Name Register Number Current Classification
ARMBRUSTER, GERRY A. $02006 3-A-L
unselonAgent Name *
MAYBERRY, JEFFREY W.
Date/Time Location Type Method StaffiTitle *
6/17/2016 10:54:52 CLINICAL SERVICES/TAY Collateral Other MENSE, ELIZABETH N., Office Associate

Comments: Offender was provided a thirty minute legal telephone calf with his attorney, Katherine Roche (ARDC# 6321 395) from Loevy & Loevy
lawfirm. Law firm initlated telephone call to TCC.
6/15/2016 71:58:50 CLINICAL SERVICES/TAY Collateral Other MENSE, ELIZABETH N., Office Associate
Comments: Received another call fram Missv recarding the status of offender Annbrustar's .

Lees . ¥. Missy stated that
warrams have been issued for the fwo suspects balleved fo be invelved, | informed Missy thar orrender Armbruster should be abla to talk fo
her on the phone soan as JA was adding her phone number to his par fist.

6/15/2016 09:02:04 CLINICAL SERVICES/TAY Collateral Face ToFace #MENSE, ELIZABETH N., Office Associate

Comments; Received @ phone call this morning regarding offender Armbruster’s

| ’ I
I

wee ee cs i oda

 

 

mive minute wall to a iriend, Missy - 38) 1G ger auutional details on what happened. Offender Armbruster said he was okay and
knaw how to get ahold of either a crisis taam member or MHP should the need arise, Phone number for Missy was added to his phone fist
and given io 1A for processing.
7/2016 13:01:46 HOUSING UNIT S/TAY Persenat Face To Face MAYBERRY, JEFFREY W., Correctlonal Counselor i!
Comments: Checked trust fund balance.
6/7/2016 10:12:65 CLINICAL SERVICES/TAY Collateral Other MENSE, ELIZABETH N., Office Assoclate

Comments: Offender was provided with a thirty minute telephone call with Rebekah (Becky) Woolever, Adopi/on Spaciatist from Hoyleton Ministries in
Fairview Heights, iL. Ms. Woolever called ragarding offender Armbruster's minor child whom is under the custody and guardianship of
DGFS currently. Ms, Woolever Initiated the telephone call to TOC.

 

 

 

 

 

 

 

 

 

 

6/6/2016 42:00:21 HOUSING UNIT S/TAY Personal Fate To Face MAYBERRY, JEFFREY W., Correctional Counssior !I
Comments: Checked trust fund balance.

6/3/2016 14:08:53 HOUSING UNIT S/TAY Personal Face To Face «= MAY BERRY, JEFFREY W., Correctional Gaunselor I!
Comments: Checked irust fund balance.

G/2/2016 08:51:55 HOUSING UNIT S/TAY Personal Face To Face MAYBERRY, JEFFREY W., Correctional Counselor Il
Comments: Checked trust fund balance.

5/31/2016 10:00:26 RECORDS OFFICE/TAY Collateral Other JOKISCH, JANIS K., Executive it
Comments: Sent verification of incarceration at his request. Advised this is the only copy provided.

5/31/2016 09:16:08 HOUSING UNIT 5/TAY Personal Face To Face MAYBERRY, JEFFREY W., Corectlonal Counselor HH
Comments: Offender checked frust fund bafance. ,

§/27/2016 10:02:54 HOUSING UNIT S/TAY Persenal Face To Face MAYBERRY, JEFFREY W., Correctlonal Counselor |!
Comments: Offender inquired about making legal capies.

5/25/2016 10:21:44 HOUSING UNIT 5/TAY Personal Face ToFace #MAYBERRY, JEFFREY W., Correctional Counselor II
Comments: Offender inquired about sentence caleutetion.

S/24/2016 13:16:47 HOUSING UNIT 5/TAY Personal Face To Face MAYBERRY, JEFFREY W., Correctional Counselor !!
Comments: — lnquirad about work release.

5/16/2016 12:25:25 HOUSING UNIT S5/TAY Personal Face To Face PERRY, TRACY M., Correctional Counselor f
Comments: Checked with ¢.o, Durham, the Academic Officer, who recalls the offender specifically requesting 98 copies, and then retuming the next

. day claiming he only needed six.
SiMG/2048 12:49:51 HOUSING UNIT S/TAY Personal Face To Face PERRY, TRACY M., Correctional Counselor ||

Comments: Offender in office willt a copy of money voucher for 96 copies dated 6/10/16, Offander statas that he only recalved 6 copies, Offender
stated that the librarian had him sign the money voucher with no dollar amount on it. Business office indicated there fs a fog in the Nbrary
reflecting how many copies are made by offenders. Wil check log and get back fo him.

 

 

5/3/2016 13:54:43 HOUSING UNIT 5/TAY Personal Face To Face MATTHEWS, JOSHUA L., Cormectional Counselor I!
Comments: Checked inmata trust fund balance.

3/28/2016 10:31:30 HOUSING UNIT 3/TAY Personal Face To Face JACOBY, NANCY A,, Correctional Counselor fl
Comments: Checked trust fund balance.

3/18/2016 11:28:52 HOUSING UNIT 3/TAY Porsonal Face To Face JACOBY, NANCY A., Correctlonal Counselor [I

Comments: Checked trust fund balance.

10/24/2016 Page 2 of16 ‘Assigned Counselor/Agent and Staffs fitle Is current as of the date of this
BOC 1711 (Rev. 10/86} PC Generated report, not the date of the counseling sumNMABRUSTER TCC (CR) 0003
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page 4of17 Page ID #245

State of Hingis
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

 

 

 

 

inmateRestdentiteieaes Name Regleter Number Current Classification

ARMBRUSTER, GERRY A. §$02006 3-A-L

[ GounselorAgent Nam * "

MAYBERRY, JEFFREY W.

Date/Time Location Type Method Staff/Title *

3/14/2016 09:28:30 HOUSING UNIT 3/TAY Personal Face To Face JACOBY, NANGY A., Correctional Counselor I!
Comments: Checked trust fund balance,

3/4/2018 13:32:40 HOUSING UNIT 3/TAY Personal Face To Face JACOBY, NANGY A., Correctional Counselor II
Comments: Checked trust fund balance.

3/4/2016 12:55:45 CLINIGAL SERVICES/TAY Collateral Other RODGERS, SHARLETTE D., Clinical Services Supervisor
Comments: VISITING LIST SUBMITTED FOR THE MONTH

3/2/2016 13:45:31 HOUSING UNIT 3/TAY Personal Face To Face JACOBY, NANCY A, Correctional Counselor Il

Comments: Per the dietary manager, advised that he could not return fo dietary ta work, Voiced concerns over his auiomatic recording for the phone,
advised offender te contact ia.

 

 

 

 

 

 

2/22/2016 15:02:08 HOUSING UNIT 3/TAY Personal Face To Face JACOBY, NANCY A,, Correctional Counselor Il
Comments: Checked trust fund balance.

2/16/2016 08:19:42 HOUSING UNIT S/TAY Personal FaceTo Face JACOSY, NANCY A., Correctional Counselor II
Comments: Checked trust fund balance.

2/2/2016 15:23:47 RECORDS OFFICE/TAY Personal Other PERRY, TRACY M., Correctional Counselor I!
Comments: Predatory Risk Factor form completed and forwarded to MHP Angus.

2/2/2016 13:58:46 HOUSING UNIT 3/TAY Personal Face Toa Face = JACOBY, NANCY A., Correctional Counselor II
Comments: Checked trust fund balance.

2/1/2016 11:57:10 HOUSING UNIT 3/TAY Personal Face To Face JACOBY, NANCY A., Correctional Counselor li
Cornments: Checked trust fund balance. Discussed that he is working 3rd shift dietary.

1/21/2016 13:22:44 HOUSING UNIT S/FAY Personal FaceToFaca PERRY, TRACY M., Carrecticnal Counselor tf

Comments: Offender wants 4 copy of his visiting list. Offender aiso asked if | could calf his girffland to just check on her sinca he hasn't heard fromm her
in a few days. Advised offender that | wil not place 2 cail for him unless there is @ verifiable emergency.

 

 

 

 

 

 

1/19/2016 15:31:14 HOUSING UNIT 5/TAY Personal Face To Face PERRY, TRACY M., Correctlonal Counselor II
Comments: Had questions about outside clerance.

1/19/2016 11:35:41 CLINICAL SERVICES/TAY Parsonal Other PERRY, TRACY M., Correctlonal Counselor {i
Comments: Forwarded his phone fist to 14 for processing.

1/19/2016 09:50:36 HOUSING UNIT S/TAY Personal Face To Face MATTHEWS, JOSHUAL., Correctional Counselor i]
Comments: inmate was seen and asked about siate pay and outlook was sent to trust fund tor fhe $2.72.

1/19/2016 08:56:23 HOUSING UNIT S5/TAY Personal Face To Face MATTHEWS, JOSHUAL., Correctional Counselor II
Commenits: Checked inmats trust fund balance.

1/8/2016 10:47:03 RECORDS OFFICE/TAY Collateral Other BARNICK, MICHELLE L., Correctional Counselor Il
Comments: Multiple SS #'s

1/8/2016 10:33:04 RECORDS OFFICE/TAY Collateral Other BARNICK, MICHELLE L., Correctional Counselor II

Comments: File has been screened & ascape risk entered. ARCS indicates the following: if BR Corey Armbruster @ TAY, completed 8th grade,
instant Offense: Burglary. Rap indicaias the following: Agg Bait GBH 11/17/14 11CF2007 Victim Donald Caughron Madison Co {C),
Attempt Agg Batt GBH 9/14/11 Madison Co (A), Probationer Escape PO 7/26/04 Sang Co (A). No active warrants/OP's, DOG 0494 PRF
completed 2, TCU 0

 

 

12/30/2015 09:13:42 CLINICAL SERVICES/TAY Personal Other PERRY, TRACY M., Correctional Counselor II
Comments: Fonwarded his phone fist fo iA for processing.
92/28/2016 16:32:37 HOUSING UNIT S5/TAY Personal Face To Face MATTHEWS, JOSHUAL., Corectional Counselor Il

Comments: PREA was explained and documentation provided during Orientation. Offender received IDOC pemphiet on Sexual Abuse and Custodial
Sexual Misconduct. Offender issued Inmate Resource Guide, complaied the Offender Pre-Release Ideniification ChecklisOPRIC) and the
Offender Financial Status Report. Ha states he does not have access to Ais (SS Card, Birth Certificate, Driver's License, State ID). He does
not wish to participate in Temporary ID program. Pintt 769. ,

12/29/2015 10:32:30 ORIENTATION Persenai Face To Face MATTHEWS, JOSHUAL., Correctional Counselor |i

Comments: PRESENTATION/TAY
Offender participated in Orlentation procass and was provided with the Orientation Manual. Issued Orientation Manual in Spanish fo
Offenders with poor English skills, Offenders signed for manuals, Offender Pre-Releasa identification Chacktist initiated. Provided
Telephone Pin form and Visiting List form and explained procedures. Ail Offenders were informed of House Bill 569 and explained
process for application,

10/24/2016 _ Page 3 of 16— *Assigned Counselor/Agent and Staff's title is current as of the date of this
DOC 1711 (Rev, 10/86) PC Generated report, not the date of the counseling sufiMARRUSTER TCC (CR) 0004
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State of Illingis

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Department of Corrections
CUMULATIVE COUNSELING SUMMARY
TnmatenesidentRaloasa Name Reglater Number Corrent Classification
ARMBRUSTER, GERRY A. $02006 3-A-L
CounsalonAgant Name ™
MAYBERRY, JEFFREY W.
Date/Time Location Type Method Staff/Title *
12/28/2015 10:30:01 CLINICAL SERVICES/TAY Personal Other PERRY, TRACY M., Correctional Coungelor It
Comments: Retumed his phone iist for corrections.
12/8/2015 10:03:87 B OF I/GRA Personal Faca To Face WILSON, DANIELA,, Correctional Counselor {I
Gamments: informed if finishes his writ he will be clear to transfer.
12/1/2015 08:29:02 CLINICAL SERVICES/GRA  Collataral Other HOLLO, TAMMY R., Correctional Counselor [1
Comments: Offender requested to correspond with his Advised offender to wait until he got inte. equest this.
10/9/2015 08:13:11 X HOUSE A WING/GRA Personal Face To Faca WILSON, DANIELA., Correctional Counselor |i
Comments: Offender entered GRC. ARCS interview was completed.
8/12/2014 18:48:47 HOUSING re ’ Personal Face To Face MCINTYRE, RICH P, Correctional Counselor |!
. COUNSELOR
Comments: OFFICE/SWC
Met with inmate as he was working the expeditors desk. No issues.
SM1O/2014 13:00:26 INTERNAL AFFAIRS Collateral Other KAMPWERTH, JUSTIN L., Correctional Officar
Comments: OFFICE/SWC
Phone ist submitted for June.
6/12/2014 10:01:58 HOUSING UNIT 4 Persorial Face To Face ROBINSON, TROY, Correctional Counselor II
Comments: COUNSELORS
OFFICE/SWG
Recommeded Offender Griavance about medical freaimant issue be denied.
6/11/2014 13:30:04 CLINICALSERVICES/SWC Collateral Other GRACE, SHARON K., Office Assistant
Comments: Visiting list has been submitted for the manth
6/5/2014 09:07:56 HOUSING UNIT 1 Personal Face To Face MCINTYRE, RICH P., Correctional Counselor II
Comments: COUNSELORS
‘ OFFIGE/SWC
Mat with inmate to receive call from Rebekah Woolover with Hoyleton Youth and Family Services. Inmate was on the line for
approximately 20 minutes.
5/27/2014 10:12:25 CLINICAL SERVICESYSWC —Callateral Other GRACE, SHARON K., Office Assistant
Comments: Visiling list has been submitted for the month
5/22/2014 12:13:48 HOUSING UNIT 1 Personal Face To Face MCINTYRE, RICH P., Correctional Counselor II
Comments: COUNSELORS
. OFFICESWC
Met with inmate during his 120-day staffing. it was recommended that Inmate parole to a hal-way house.
4/18/2014 13:43:32 HOUSING UNIT 1 Personal Face To Face MCINTYRE, RICH P., Corractional Counselor It
Comments: COUNSELORS
‘ OFFICE/SWC
inmate was rasubmitied for work camp now that the criteria has charged. Inmate was denied previously for not being in phase 4 because
he is Meth Offender. :
4/13/2014 14:02:37 INTERNAL AFFAIRS Callateral Other THOMPSON, JULIE A., Corractional Officer
Comments; OFFICE/SWC
Phone list submitted for the month of April
4/2/2014 09:17:13 CLINICAL SERVICES/SWC Collateral Other GRACE, SHARON K., Office Assistant
Comments: Visiting list has been submitied for the month
3/31/2014 14:40:24 INTERNAL AFFAIRS Collateral Other THOMPSON, JULIE A., Correctional Officer
Comments: OFFICE/SWG
Phone list submitted for the month of March
2/18/2014 12:40:59 INTERNAL AFFAIRS Collateral Other THOMPSON, JULIE A., Correctional Officer
Comments: OFFICE/SWC
Phone list submitted for te month of February
2/14/2014 11:57:08 HOUSING UNIT 4 Personal Face To Face MCINTYRE, RICH P., Correctional Counselor II
Comments: COUNSELORS
. OFFICE/SWC

Advise Inmate that he was denied work camp because he is Meth and not in phase 4,
10/24/2016 Page 40f 16 “Assigned Counsalor/Agent and Stas tile Is current as of the dete of this
DOC 1711 (Rev. 10/86) PC Generated report, not the date of the counseling sufMW4BRUSTER TCC (CR) 0006
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State of [Hinols

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Department of Corrections
CUMULATIVE COUNSELING SUMMARY
eee Register Number Current Classification
ARMBRUSTER, GERRY A. $02006 3-A-L
GounselorAgent Name *
MAYBERRY, JEFFREY W.
Date/Time Location Type Method StaffTitle*
12/12/2013 10:02:37 CLINICAL SERVICES/SWC Collateral Other GRACE, SHARON K., Office Assistant
Gomments: Visiting list has been submitted for the month
12/11/2013 15:28:47 HOUSING UNIT 1 Personal Face To Face MCINTYRE, RICH F., Correctional Counselor |!
Comments! COUNSELORS
, OFFICE/SWC
Mat with inmate in House 1 at the officers desk. Doing ok, no issues..
10/21/2013 12:49:26 INTERNAL AFFAIRS - Collaterat Other THOMPSON, JULIE A., Correctional Officer
Commants: OFFICE/SWC
Phone list submitted for October
10/21/2013 08:34:15 CLINICAL SERVICES/SWG — Collateral Other GRACE, SHARON K., Offica Assistant
Comments: Visiting fist has been submitted for the month
40/10/2013 15:31:49 HOUSING UNIT 1 Personal Face To Face MCINTYRE, RIGH P., Correctional Counselor Il
Comments: COUNSELORS
‘ OFFICE/SWC.
Met with inmate at his bunk, tle wants a print-out of ali his visitors that he hes had. Will chack if that is OK,
0/23/2013 11:50:43 CLINICAL SERVICES/SWC = Collateral Other GRACE, SHARON K., Office Assistant
Comments: Visting fst has baen submitted for the month
8/21/2013 11:43:19 HOUSING UNIT 1 Personal Face To Face KING, REGINA, Correctlonaf Counselor Hl
. COUNSELORS
Comments: OFFICE/SWC

Mei with offender he wanted ta know if he was eligible for work ralease, per wardens bulletin 12-028 and offenders bulletin 012-008,
offenders are eligible to request work release after the completion of 9 months of treaiment program. He will not be eligible until Oct 16,

 

 

 

 

 

2073.
8/5/2013 11:59:23 CLINICALSERVICES/SWC Collateral Other GRACE, SHARON K., Office Assistant
Comments: Visiting ilst has been submitted for the manth .
8/1/2013 08:46:01 CLINICALSERVICES/SWC Collateral Other GRACE, SHARON K,, Office Assistant
Comments: Copy of telephone fist was given to offender as requested
8/1/2013 08:46:27 CLINICAL SERVICES/SWC = Collateral Other GRACE, SHARON K., Office Assistant
Comments: Cony of visiting ist was given to offender as requested
7f30/2013 10:16:44 HOUSING UNIT t _ Personal Face To Face ARNOLD, RICHARD S., Correctional Counselor II
commen: SEER
He now says he warts work release and he wants a reason why he hasn't been submited. | told him it's based on MSR date.
7/20/2013 12:11:58 HOUSING UNIT 1 Personal Face To Face ARNOLD, RICHARD &., Correctional Counselor Ii
Comments Se

He says that there are foo many gang members here and he wants a transfer fo Taylorville CC. | told him that he volunteered to coma here.
We won't transfer him, Only way to isave is to refuse treatment.

 

 

 

 

 

7/22/2013 10:35:55 HOUSING UNIT 1 Personat Face To Face ARNOLD, RICHARD &., Correctional Counselor If
. COUNSELORS
Comments: OFFICE/SWC
He was informed that we received his ssan card.
G/24/2013 10:28:14 HGUSING UNIT 1 Personal Face To Face ARNOLD, RICHARD §., Correctional Counselor II
Cormments: COUNSELORS
. OFFICE/SWC
He asked If his littta / told him, not yet.
5/14/2013 09:21:22 HOUSING UNIT 1 Personal Face To Face ARNOLD, RICHARD §., Correctional Counseler Il
Comments: COUNSELORS
OFFICE/SWC
He was given applications for his ssan card and birth certificate. .
4/22/2013 10:46:50 HOUSING UNIF 1 Personal Face To Face ARNOLD, RICHARD S., Correctional Counselor Il
Comments: COUNSELORS
OFFICE/SWC

He says he wants a progress report printed off OTS for when he goes to court. | told him it doesn't: work that way, | explained it to him.

1 0/24/2016 ae : Page 5 of 16 “Assigned Counsefon/Agent and Staffs title is current as of the date of this
DOC 1711 (Rev. 10/86) PC Generated report, not the date of the counseling suWaNEHRUSTER TCC (CR) 0006
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page 7of17 Page ID #248

State of Ililnois
Department of Correctlons

CUMULATIVE COUNSELING SUMMARY

TomateResidentRelease Name Register Number Current Classification
ARMBRUSTER, GERRY A. $02006 3-A-L
CounssloriAgent Name *

MAYBERRY, JEFFREY W.

 

 

 

 

 

 

 

 

 

 

 

 

Date/Time Location Type Method _Staff/Title *
3/18/2013 10:50:26 HOUSING UNIT 1 Personal Face fo Face §=ARNOLD, RICHARD §,, Correctional Gounselor It
Comments: COUNSELORS
OFFICE/SWC
{ told him that he is appraved to correspond with his
3/14/2013 15:07:36 HOUSING UNIT 1 Personal Face To Faca ARNOLD, RIGHARD S., Gorraciional Counselor |i
Comments: COUNSELORS
OFFICE/SWC
Talked to him about getting OCFS visits with his child.
3/6/2013 13:15:18 HOUSING UNIT 1 Personal Face To Face ARNOLD, RIGHARD §., Correctional Counselor ||
Comments: COUNSELORS
, OFFICE/SWC
He asked to write his . | fold him to wait,
2/28/2043 14:03:13 HOUSING UNIT 1 Personal Face To Face = =ARNOLD, RICHARD S., Corectional Counselor [!
Comments: COUNSELORS
, OFFICE/SWC

He gave me information ta cantact Constance Lockett. Case manager/Hoylefon youth and family services, about his daughter P
B 1, / called (878) 213-3170, extension 1206 and jeff a message yesterday, she hasn't called me back.

 

 

2/26/2013 13:09:25 HOUSING UNIT 1 Parsonal Face To Face = =MCINTYRE, RICH P., Correctional Counselor It
Comments: COUNSELORS
OFFICE/SWC

Offender was seen during his Initial staffing. CiviGenies, TASC, Education, and Clinical Sarvices discussed thelr departments with the
offender. Teh offendeer was advised by TASC staff that they may be recommended to go fo a halfway house upan their first 90 days an

 

 

 

 

 

parale,
2/26/2013 14:35:21 CHAPELISWC Personal Face To Face = LOVE, TIMOTHY W., Chaplain Il
Comments: Seen inmate today, he told me that he wanted to do what every necessay to restore relationship with Ais daughter and wanted prayer.
2/20/2013 14:13:24 HOUSING UNIT 1 Personal Face To Faco ARNOLD, RICHARD S., Correctional Counselor |[
Comments: COUNSELORS
OFFICE/SWG
He asked to write. his brother, . _h Hold himto wets
2/8/2013 18:37:24 HOUSING UNIT 2 Personal Face To Face ARNOLD, RICHARD 8S., Correctional Counsetor II
Comments: COUNSELORS
. OFFICE/SWC
He wrote to the warden asking to speak in person, doasn't say wily. | told him fo come up with a topic.
2/612013 09:30:49 LIBRARY/SWC Personal Face To Face == OLLIGES, KEVIN R., Clinica Servicas Supervisor

Comments: Offender was seen during the initial staffing. Civigenics, TASC, education, chap/ein, and Clinical Services discussed their departments with
the offender. The offender was advised by TASC staff that they may be recommended to go to a halfway house upon thelr first 90 days on

 

 

 

 

parale,
2/4/2013 18:07:45 INTERNAL AFFAIRS Collateral Other PAYNE, ZACH K,, Correctional Officer
Comments: OFFICE/SWC
: Telephone list submitted for February.
2/4/2013 13:52:10 HOUSING UNIT 2 Personal Face To Face ARNOLD, RICHARD S., Coractional Counselor |!
Comments: COUNSELORS
. OFFICE/SWC
He was given @ copy of his visiting list. Informed him that he gats visits on 2-76-13.
1/30/2013 14:41:08 CLINICAL SERVICES/SWC Collateral Other GRACE, SHARON K., Office Assistant
Comments: Visiting jist has been submitted for the month
1/18/2013 12:42:19 HOUSING UNIT 3 Personal Pace To Face ARNOLD, RICHARD §S., Corractlonal Counselor I!
Comments: COUNSELORS
OFFICE/SWC

Inmate participated in the Orientation process. inmate received and signed far an inmate Orientation Manual. Offender Pre-Release ID list

completed. inmate informed on proper procedures on how to receive an ID card upon release. Telephone and visiting list forms and

procaduras were explained. Inmate was givan Dept. of Human Services handout. Notification of Next of Kin and Offender information

Questionnaire forms were completed. Al Offenders who receive EGCC contracts, signed for them and were informed an what is required.
1/15/2013 09:17:47 CLINICAL SERVICES/TAY Personal Face To Face MOFFETT, DAVID L., Staff Development Specialist |

Comments: Gave inmate quick phone call fo Gordan Morton at 618-452-9553 regarding his block on tha phone.

10/24/2016 - Page 6 of 16 *Assigned Counsalor/Agent and Staff's title is currant a8 of the date of this
DOC 1711 (Rev. 10/86) PC Generated report, not the date of the counseling suAPkeBRUSTER TCC (CR} 0007
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page 8of17 Page ID #249

State of lilinois
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

 

 

| inmatiesdentRelenss Name Register Number Currant Clessification

ARMBRUSTER, GERRY A. 502006 3-A-L

[GounselodAgent Name *

MAYBERRY, JEFFREY W.

Date/Time Location Type Method StaffiTitle *

1/9/2013 09:05:15 HOUSING UNIT 6-B/TAY Personal Face To Face == PATTERSON, THOMAS L., Corrections Senior Parole Agent
Comments: Jnmate waned a phone call on line he says was accidently blocked. Claims the person would never block Als calls. Request was denied.

1/4/2073 14:00:46 CLINICAL SERVIGES/TAY Personal Face To Face MCCRAY, PAULAR., Office Administrator Specialist

Comments: Offender on Warden Dexhelmer's call tine, Offender wanting to know if he could get a colored bicture of himself fone that is an tha internet
(DOG website) for his kids. Warden Dexheimer explained that his family could gat that for his kids, He proceeded to state that they do not
have ihe intemet. Warden Dexheimer stated that they could go to the local library and use the internat, Offander also inquired about his
Iransfer. Warden Dexheimer stated that when @ bed becomes available they will transfer him.

 

 

42/31/2012 10:20:09 HOUSING UNIT §-B/TAY Personal Faca lo Face = =PATTERSON, THOMAS L., Corrections Senior Parole Agent
Comments: inmate provided with trust fund balance.
42/91/2012 08:34:00 HEALTH CARE UNIT/TAY Personal FaceTo Face MOFFETT, DAVID L., Staff Development Specialist |

Comments: Talked to inmate while making rounds at HCU, he asked about getting over to 5B and about the Printout | gave fo Inmates in the Veis
Group. Toid him {| may make him a capy this week.

 

TANB20t2 15:28:27 CHAPEL/TAY Personal Face To Face  VOIGTMANN, JAMES L., Chaplain 1

Comments: i spoke with offender and sat up him to go to “The Greaf Banquet” on Decamber 7, & & 9, 2012. Friday & Saturday was from 8:30 am to
8:30 pm and Sunday was from 8:30 am fo 4:30 pm. | spoke with the offender ai the banquet and was fold this is just great and very
uplifting. We had 64 offenders each day end 31 volunteers aach dey. On Saturday we had an extra 31 volunteers as a Special surprise for

 

 

 

 

 

about 2 hours,

121O/2012 14:22:57 HOUSING UNIT 3-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor II
Comments: i/m requested counselor inquire if court date has been corrected to 4/4/13

12/6/2012 15:57:03 HOUSING UNIT 3-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Corectional Counselor II
Comments: Counselor presented lm with gloves and serwarmers trom Taylorville CC as a Holiday gift

12/4/2012 14:38:13 HOUSING UNIT 3-B/TAY Personal FacaTo Face ARMSTRONG, TIMOTHY W., Correctional Counselor il
Comments: checked trust fund balance and discussed 5$ copay

1149/2012 13:26:11 CLINICAL SERVICES/TAY Collateral Other MGCRAY, PAULA R., Office Administrator Specialist
Cormments: Sent offender transfer approval MEMO for Southwastem iL CC.

10/26/2012 13:40:02 HOUSING UNIT 1-B/TAY - Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor |!

Comments: talked to ifm approx 45 min about his children; /m very aisturbed that DCFS hes not brought his children to see him at the ordered
intervals. Um trying to be very patient. im interested in daveloping 4 relationship wi his older and younger kids.

10/24/2012 13:49:26 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor I!

Gommente: ifm expained he is thankful for ali the “fevors* and "help" people have given him, counselor advised im ts going fo have fo learn to dapand
on himself and learn to develope skills to help himself instead of ofhars help.

 

 

 

 

 

 

 

 

TOBH20I2 14:53:46 VOCATIONAL Personal Face To Face «= PATTERSON, THOMAS L., Corrections Senior Parole Agent

Comments: SCHOOL/TAY ,
inmate attended a presentation by TASC Steff conceming the programs availabla at Southwestern and Sheridan Correctional Centers.

10/22/2012 09:53:22 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Corractional Counselor II
Comments: soVised im he needs to fake advantage of opportunity to interview w/ TASK: the chance may not come again at TAY

10/19/2012 13:28:00 LIBRARY/TAY Personal Face To Face = =MOTT, JAMIE C., Library Associate
Comments: Per offender request, notarized legal documents.

10/18/2012 11:44:25 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor il
Comments: checked trust fund balance and discussed send photo to friend for kids to have

10/16/2012 13:13:24 HOUSING UNIT 1-B/TAY Personal ~ Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor I!
Comments: Counselor presented inmate w/ Zero Tolerance Sexual Abuse policy information sheet.

10/45/2012 09:32:03 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor [I
Comments: tm stated he is having a problem w/ ifn: and wants to talk toa 1A. Counselor will inform IA of request. checked trust fund balance

10/8/2042 12:48:51 HOUSING UNIT 1-B/TAY Personal Face To Face §=ARMSTRONG, TIMOTHY W., Correctional Counselor I]
Camments: ‘fm stated ait want well w/ his last court dete and he Is very happy. Um requested to be able to call his daughter on the telephone; denied

10/4/2042 15:43:08 CHAPEL/TAY Personal Face To Face \VOIGTMANN, JAMES L., Chaplain Il

Comments: i will be meeting with offenders for the last class of “Father initiative - Active Parenting-God' Way” or Wednesday, 1:00 pm, Ocfober 70,
2072, Today class.was on 10/3/12, with a great movie called “Couragous".

10/24/2016 Page 7 of 16 “Assigned Counselor/Agent and Staf’s title is current as of the date of this
DOG 1711 (Rev. 10/86) PC Generated report, not the date of the counseling sufiMAPRUSTER TCC (CR) 0008
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page9of17 Page ID #250

State of Hlinois

 

 

 

 

 

 

 

 

Department of Corrections

CUMULATIVE COUNSELING SUMMARY
[inmate neslienuneease Name Register Number Current Classification
ARMBRUSTER, GERRY A, 502006. 3-A-L
Counselor Agent Name * .
MAYBERRY, JEFFREY W.
Date/Time Location Type Method Staff/Title *
10/2/2012 10:35:46 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor Il

Comments: discussed the ilffe of offense “Great Boolly Harm" being deternined by the statute sited on the Milt. and wilf not be the determining factor if
aligible for good tims; it should be the statute its seif

 

 

 

 

 

 

 

 

 

 

10/1/2012 10:03:58 HOUSING UNIT 1-B/TAY Personal Face To Face =ARMSTRONG, TIMOTHY W., Correctional Counselor II
Comments: ffm going to court on Thurs and requested a copy of his attendance in AA classes and that he is aitending Active Paraniing classes

9/26/2012 10:05:02 LIBRARY/TAY Personal Face To Face MOTT, JAMIE C., Library Assoclate
Comments: Per offender request, notarized legal documents.

9/25/2012 14:32:11 LIBRARY/TAY Personal Face To Face MOTT, JAMIE C., Library Associate
Comments; Per offender request, notarized legal documents.

9/24/2012 10:55:29 HOUSING UNIT 1-B/TAY Personal Face To Faca =9aARMSTRONG, TIMOTHY W., Correctional Counsator |I
Gomments: im stopped by counsiars office to thank him for his assistance

9/17/2012 09:53:45 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor II
Comments: fm requested 6 phore call fo naw casword supv; no

8/12/2012 11:39:42 HOUSING UNIT 1-B/TAY Personal Face To Face §=ARMSTRONG, TIMOTHY W., Correctional Counselor I!
Comments: im discussed his case and what is the next path to take concarning 4; couselor strongly encouraged im fo participate

9/11/2072 12:21:33 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor II
Comments: lim lait message for DGFS Case supy fo leave camera w/ judge

9/10/2012 14:11:08 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor II
Commants: ai the request of DCFS Case Supy. i/m was allowed to call CS at 618-213-3170. call made, contest made.

9/7/2012 10:58:38 HOUSING UNIT 1-8/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor II
Comments: phone call made to Debbie ta axpiain the girls are not on the visiting fist sa dont bring them to visif,

Of6/2012 14:57:42 GLINICAL SERVICES/TAY Personal Face To Face 9 MCORAY, PAULAR., Office Administrator Speciatist

Comments: Offendar on Warden Dexheimer's call fine. Offender stated that he would jike to have a better Paying job. He has a court order front the
Judge allowing him to contact his daughter and he pays for this. Would like & batter paying job fo helo with the phone costs,

9/4/2012 14:09:58 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor II

Comments: im ingiured why his daughter 5 wes denied visit but other daughter M wes approved. Counselor will investigate. Counselor leamed a
notice af visit Genial was in i/m's visiting fils Indicating denial of visit due ta no priar anpraval for child to visit w/ Casework Supvy’ dated

 

 

GAAT2,
8/24/2012 09:12:53 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counsalor [I
Comments: discussed participating in SA Ireatment and the program being a part of his job history that will be avaliable for his PO to see
8/10/2012 13:56:51 CHAPELITAY Personal Face To Face = VOIGTMANN, JAMES L., Chaplain jl

Comments: Offender and | had a great talk about personal faith and how God works faith into our lives and Info are families, Offender has shown his
commitment to his higher power and how it must be present in his family and parenting style.

8/17/2012 09:40:55 HOUSING UNIT 1-B/TAY Personal FaceTo Face ARMSTRONG, TIMOTHY W., Correctional Counselor II

Comments: I/m showed counse/or a court order drecting tha conditions of his contact with his daughter. Vm stated the mother of daughter not
responding to calls, im requested counselor call his DCFS counselor inquiring of next visit. He needs to write a letter

 

 

 

8/13/2012 12:48:01 HOUSING UNIT 1-B/FAY Personal FaceToFaca ARMSTRONG, TIMOTHY W., Correctional Counselor II
Comments: im discussed his case and how much he loves his chifdran

8/13/2012 12:24:40 CHAPELITAY Personal FacaTo Face VOIGTMANN, JAMES L., Chaplain II
Comments: Offender requested Christian baptism. | directed him io Reloasa thru Jesus group on Thursday evenings.

8/10/2012 11:16:34 HOUSING UNIT 1-B/TAY Personal FaceTo Face ARMSTRONG, TIMOTHY W., Correctional Counselor [I
Comments: checked rust fund balance and counsalor will assist in adding the name af a Caseworker to his VL this afternoon

8/9/2012 15:47:43 CHAPELITAY Personal Face To Faces = VOIGTMANN, JAMES L., Chaplain I

Comments: I discussed with this offender the objectives of him taking the class, “Fatherhood Initiative” parenting program here at Taylorville. The
discussion was good and felped me in areas | need to discuss in mors detail. This class will be given over a 12 week period meeting
avery Wednesday at 7:00 pm w/ Chaplain.

 

 

8/7/2012 08:09:55 LIBRARYITAY Parsonal Face To Face MOTT, JAMIE C. Library Associate
Comments: Per offender request, notarized legal documents.
8/6/2012 10:50:46 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor I
Comments: lim happy is child came to visit w/ DCFS worker tin working on other issues. needs copy of visiting lst
10/24/2016 —_ ~ Page 8 of 16 ‘Assigned Counselor/Agent and Staff’ tiffe YEO BS of the.cate of this
DOC 1711 (Rev. 10/86) PC Generated report, not the date of fha counseling su FECES URS
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page 10o0f17 Page ID #251

State of Illinois
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

 

| inmate Resident Ralaase Name Register Number ° Current Classification
ARMBRUSTER, GERRY A. §02006 3-A-L

| Counsaipr/Agent Name *

MAYBERRY, JEFFREY W.

Date/Time Location Type . Method Staff/Title *

8/2/2012 16:05:08 CHAPEL/TAY Personal Face To Face VOIGTMANN, JAMES L., Chaplain li

Comments: Visited with offender about his role as a father. Offender is taking my new parenting class, Discussed offender's rote In redirecting his
actions as ? pertains to a higher power as he knows him to be and how he can develop a new direction in being a tether as well as a new

 

 

direction in lifa. /
8/1/2012 08:27:56 CLINICAL SERVICES/TAY Personal _FaceTo Face MCCRAY, PAULAR., Office Administrator Spacialist
Comments: Per offender request, notarized fegal documents and made copies. .
7/30/2012 09:20:50 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor II

Comments: im stated his court writ went very well. his 17 yr old daughter wrote him and he feals all is going well. lfm requested a personal call fo his
mother; denied; advised to write a letier; counselor not af iiberty fo grant personal calls

 

 

7/24/2012 13:44:01 HOUSING UNIT 1-B/TAY Personal Face To Face §=ARMSTRONG, TIMOTHY W,, Correctional Counselor |I
Comments: discussed the gifts giver to us by God: the retum of good time
7/23/2012 13:42:37 CLINICAL SERVICES/TAY — Personal Face To Face MCCRAY, PAULAR., Office Administrator Specialist
Comments: Offender am “orden Dexheimer's call ine. Offender requesting permission for his two brothers fo come and visit Ong brother, ~~~"
was i . Iwever. is now off The olfier brother , currently has --
Werden Dexnaimereskad thehes .. . tu Offandar stafad ny. warden Daxheimear exprained that « posed fo
write isiters to him requesting permission to visit and listing aif tc, Yarden
Dexhelmer stated that since they ares te will consider the request orice he recelves ifs ieiters. Offender also asked if

parmission is granted, if his mother, 2 vrotners, aaugntar and grandchild could come since there are more than 3 adults. Warden
Dexhelmer stated that if they come during tha week, not weekends or holidays, then permission should be granted for more than 3 adults.
Offender requested ouside clagrance now that Is iD has cleared, he wants fo work in the car wash. Placement officer Freitag informed
Warden Dexheimer fhat offender has a forcible feleny and therefore would not be approved for outside clearance. Warden Dexheimer

 

 

 

 

 

 

 

 

 

 

 

 

agreed.
7/18/2012 15:14:58 CLINICAL SERVICES/TAY Personal Face To Face MCCRAY, PAULAR., Office Administrator Specialist
Comments: Offender racelved DCFS telephane cai,
7/18/2012 14:28:02 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor Il
Comments: Counselor made contact w/ inmates father and ail is well.
7/18/2012 10:32:02 HOUSING UNIT 1-B/TAY Personal Face To Face ARMSTRONG, TIMOTHY W., Correctional Counselor il
Comments: in stated his meeting w/ OCFS went wall. ifm going fo submit for SA program
THA7/2012 13:07:37 HOUSING UNIT 1-B/TAY Personal Face To Faca ARMSTRONG, TIMOTHY W., Correctional Counselor tl
Camments: discussed change of escape classification; meeting w/ DCFS iomarrow and I/m's need for SA freatmen. ifm agreas
TET 7/2012 11:17:56 . ADMINISTRATION Collateral Other ARMSTRONG, TIMOTHY W., Correctional Counselor I!
Comments: BUILDING/TAY
: multiple SS numbers noted
7/17/2012 11:05:13 | ADMINISTRATION Collateral Other ARMSTRONG, TIMOTHY W., Gorractional Counsetar I
Comments: BUILDING/TAY
TAY file screening; instant offense Agg Great Bodily Harm, 2004 Probation Excapa Prane Officer arrast: mental health issues noted: Court
race SA treatmant; sor acimitled use of cocaine, crackdreebase, marijuana; TCU sore 6.
7/18/2012 10:03:09 HOUSING UNIT 1-B/TAY Personal Face To Faca ARMSTRONG, TIMOTHY W., Correctional Counselor iI
Comments: i/m requrested counsalor inquire about bive 1D; and if counselor will call parents to see why no correspondence
THV2/2012 13:49:28 CHAPELITAY Personal Face To Face  VOIGTMANN, JAMES L., Chaplain II
Comments: Meeting with new class for Father Initiative Active Parenting class which will begin on Wednesday, 1:00 pm, July 25, 2012.
7/6/2012 12:30:57 LIBRARY/TAY Personal Face To Face MOTT, JAMIE C., Library Associate
Comments: Per offender request, notarized fagal documents.
7/3/2012 10:03:26 RECORDS OFFICE/TAY Collateral Other _ OLINGER, KRISTY R., Office Administrator III
Comments: per innate request, sent inmate copy of statement of facts.
6/27/2012 10:39:39 GYMITAY Personal Face To Face MOFFETT, DAVID L., Staff Development Specialist |

Comments: Offender issued inmate resource guide and completed OPRIC form. Offender states he does not have a social security card, birth
certificate, drivers ficense or stafe identification card, Ne does want a lemporary LD. card upon release. Pin # 769 issued,

6/28/2012 13:27:09 HOUSING UNIT 5A/TAY Personal Face To Faca MOFFETT, DAVID L., Staff Development Specialist |
Comments: inmate asked about visits and his OCFS worker called and wes told fo fax info in.

10/24/2016 - Page 9of 16 “Assigned Counsalor/Agent and Staff's title is current as of the date of this
DOC 1711 (Rev. 10/86) PC Ganeamted report, not the date of the counseling suAdMaBRUSTER TCC (CR) 0010
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State of Illinois

 

 

 

 

 

 

 

 

Department of Corrections
CUMULATIVE COUNSELING SUMMARY
Inmateesidentialeace Nana Register Number Current Claasification
ARMBRUSTER, GERRY A. $02006 3-A-L.
Gounselonagent Nama ©
MAYBERRY, JEFFREY W.
Date/Time Location Type Method Staff/Title *
eatepr2 10:08:35 ORIENTATION Personal Face To Face MOFFETT, DAVID L., Staff Development Speclaiist |
bomments: PRESENTATION/TAY -

Offender participated in Orientation process and was provided with the Orientation Manual. Issued Onlentation Manual in Spanish io
Offenders with poor English skills, Offenders signed for manuals. Offender Pre-Release identification Checkiist initiated. Pravided
Telephone Pin # form and Visiting List form and explained procedures. All Offenders were informed of House Bill 569 and explained

 

 

 

 

 

 

process for application. :
6/21/2012 09:55:28 HOUSING UNIT 5-A/TAY Personal Face To Face 3  MOFFETT, DAVID L., Staff Development Specialist |
Comments: inmate asked about visit issues. Gave him @ quick call fo social worker Amy. Leff message.
6/14/2012 15:08:57 HOUSING UNIT 14/GRA Collateral Face To Face SCROGGINS, DAWN M., Executive tl
Comments: f sent inmate a copy of his verification of incarceration.
5/31/2012 10:46:31 HOUSING UNIT 14/GRA Personal Face To Face SCROGGINS, DAWN M., Executive II
Comments: We discussed his blue ID again. He fs still trying fo talk samebody in fo clearing it for him. He asked for a transfer to Taylorville, | will put
him on their interview itst. .
5/3/2012 10:39:24 HOUSING UNIT 14/GRA Personal Face To Face SCROGGINS, DAWN M., Executive Il
Commenis: inmedte had no questions or concerns to discuss with me today.
5/2/2012 08:38:10 HOUSING UNIT 14/GRA Collateral Face To Face SCROGGINS, DAWN M., Executive ||
Comments: inmate had requested 4 transfer, | sent him a note telling him he'll be eligible for a transfer in November.
2/10/2012 14:35:57 HOUSING UNIT 23/GRA Personal Face To Face SIMBURGER, KEVIN D., Corecilonal Counselor Il

Comments: This offender came into my office and sald that he is doing ok. He told me that he wents an Interview with House 16 for the program. |
called patt! and he is stil! on ihe list,

12/18/2011 45:33:01 HOUSING UNIT 23/GRA Personal Face To Face SIMBURGER, KEVIN D., Correctional Counselor ||

Comments: This offender came in to see me today and / asked how he Is deing? He replied thet he was doing good. He asked me about 10 different
things which | answared aif of them.

 

 

 

 

 

 

 

 

 

 

 

12/42/2011 13:49:01 XHOUSE D WING/GRA Personal Face To Face WILSON, DANIEL A., Correctional Counsalor fl
Comments: informed approved for GRA,
1148/2011 08:20:20 XX HOUSE PD WING/GRA Personal Face To Face WILSON, DANIEL A,, Correctional Counselor II
Comments: —_Inierviewed inmata and campleted ARCS as part of the R&C. process.
8/3/2009 09:39:59 ADMINISTRATION Collateral Other BIEVENUE, ANITA F., Account Technician J
Comments: BUILDING/MEN
‘ Offender requested capy of trust fund statement dating back to 3/1/09 fo present. Sant out today
7/30/2009 11:35:27 MSU/MEN Personal Face To Face MARTIN, RIGHARD &., Correctional Counselor II
Comments: Participated in session 4 of TRAC 1 program.
Pf27f2008 11:51:52 MSU/MEN Personal Face To Face SCHWARZ, NEALR., Correctional Counselor Il
Comments; Parlcipated in session ft of TRAC 7 program.
7/11/2009 11:44:22 MSU/MEN Personal Face To Face HILLERMAN, RONALD W., Social Worker Hl
Gomments: discussed griavanca an not being able to send money out the jast 60 days
F/22008 13:11:37 ADMINISTRATION —— Gallateral Other WELBORN, JAMIE L., Public Service Administrator
Camments: BUILDING/MEN
Sent another copy of inmate irensaction statement per old kite.
G/28/2008 12:23:27 ADMINISTRATION . Collateral Other WELBORN, JAMIE’L., Public Service Administrator
Comments: BUILDING/MEN
Sent inmate iransaction statement from 5/08 to present, Inmate icoking for voucher to Dora McKinney - responded TO doss not have
8/22/2008 15:41:48 ADMINISTRATION Collateral Other BERRY, GERALDINE F., Office Assistant
Comments: BUILDING/MEN
Trans stafament from Mar 09 sent.
6/16/2008 71:34:32 MSU/MEN Personal Face To Face HILLERMAN, RONALD W., Social Worker III
Comments: discussed trust fund
&/6/2009 09:41:17 MSU/MEN Personal Face To Face HILLERMAN, RONALD W., Social Worker II!

Comments: answered grievance over TV privileges

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DOC 1711 (Rev. 10/86} PC Generated = report, not the date of the counseling uPAR GUSTER Fa Ca
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State of Hlinois
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

finmataesiienvhetese Name Register Number Current ClaseMlcation
ARMBRUSTER, GERRY A. $02006 3-A-L
CounsglonAgent Name *
MAYBERRY, JEFFREY W.
Date/Time Location Type Method Siaff/Title *
5/27/2009 16:32:01 RECORDS OFFICE/MEN Collateral Other HOMAN, MICHAEL S., Corrections Clerk II
Comments: Requested copy of verification of incerceraiion, inforrned him ihere is none in file,
5/13/2009 15:16:18 COUNSELOR'S Collateral Other HOFFMAN, ROBERT A,, Correctional Gounsalor [ll
Comments: OFFICE/MEN
approved IMSL recapped / no kite / already transfered MSU
5/13/2009 12:26:37 MSU/MEN Personal Face To Face HILLERMAN, RONALD W., Soslal Worker Ill
Comments: Discussed MSU and job oppartunities
5/6/2009 12:08:41 . COUNSELOR'S Collateral Other HOFFMAN, ROBERT A., Correctional Counselor ||!
Comments: OFFIGE/MEN
processed MSU / sent kite
S/G/2008 12:08:05 COUNSELOR'S Collateral Other HOFFMAN, ROBERT A., Correctional Counselor Ili
Comments: OFFICE/MEN
sent Kite / discharge date 8/7/09
5/5/2008 15:22:37 COUNSELOR'S Collateral Other HOFFMAN, ROBERT A., Correctional Counselor [It
Comments: OFFICE/MEN
forwarded phone ada-on to Major Wine
6/5/2009 14:15:08 SOUTH LOWER CELL Personal Face Ta Face HOFFMAN, RORERT A., Corractional Counselor lil
Comments: HOUSE/MEN
Seen if cell ; said he gets along with his cellle and it is no rush on MSU consideration ; 60dr
4/30/2008 16:26:23 COUNSELOR'S Collateral Other HOFFMAN, ROBERT A., Carrectional Counselor ill
Comments: OFFICE/MEN
visiting list sent to Major Wine
4/30/2008 08:06:46 COUNSELOR'S Collateral Gther HOFFMAN, ROBERT A., Correctional Counselor II!
Comments: OFFICE/MEN
return outook from 1A, indicating they have items and will hold until his release date / kite to inmaia
4/28/2008 15:44:24 COUNSELOR'S Collaterat Phone HOFFMAN, ROBERT A., Correctional Counsetar II!
Comments: OFFICEAMEN
phone fine still busy
4/28/2009 16:29:02 MAJORS OFFICE/MEN Personal Other HOFFMAN, ROBERT A., Carreciional Counselor III

Comments: spoke fo Brad Thomas in Shift Commanders office ; he relates he will forward Outlook to Coleman and he ralates Colernan not in facility °
today. attempted to falk to 0.0, Wills line busy /

 

 

 

4/28/2008 16:20:04 COUNSELOR'S Collateral Other HOFFMAN, ROBERT A., Correctional Gounselor III
Comments: . OFFICE/MEN
checked OTS subject violated by PRB hearing 4/22/09 ; new Discharge not yet calculated per entry in Record office Supervisor Manu
4/28/2009 15:10:30 COUNSELOR'S Collateral Other HOFFMAN, ROBERT A., Correctional Counselor III
Comments: OFFICE/MEN
ouilooked Brad Thamas in LA.
4/28/2009 12:29:40 RECEPTION AND Personal Face To Face HOFFMAN, ROBERT A., Correctional Counselor Ili
Comments: CLASSIFICATION/MEN

Seen South Lowers door ; moving fo 2 gallery from R&C ; discussed parole violation for AWOL and classification system ; would go io
MSU ; subject mentioned Waflat and ceil phane suppasediy in 1A. control ;6Gdr
Af2TI2009 10:29:25 RECEPTION AND Collateral Other BUTLER, KIMBERLY 3., Senior Public Service Administrator
Comments: CLASSIFICATION/MEN
: inmate complains that he has bean classified a level f inmate. He is informed that he was paroled from segregation that is why he is
classified as a level 1 inmate.
4/17/2008 14:33:20 RECEPTION AND Personal Face To Face BARTON, CHERRIL., Correctional Counselor III
Comments: CLASSIFICATION/MEN
inmate was given a money vaucher and envelope.
3/3/2008 08:17:34 ORIENTATION/MEN Personal Face To Face BARTON, GHERRI L., Correctional Counselor II)

Comments:. Offender participated In Orientation process and was provided with the Orientation Manual. issued Orientation Manual in Spanish fo
Offenders with poar English skills, Offenders signed for manuals. Offender Pre-Release identification Checkiist inliisted. Provided
Telephone Pin # form and Visiting List form and explained procedures. Alf Offenders were informed of House Bill 569 and explained
process for application.

40/24/2016 a Page 11 of 16° *Assigned Counselor/Agent and Staff's title is current as of the date of this
DOC 1711 (Rev, 10/86) PC Generated report, not the date of the counseling suffAVERUSTER TCC (CR) 0012
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page130f17 Page ID #254

 

  

 

 

 

  

 

 

 

State of Illinois
Department of Corrections
CUMULATIVE COUNSELING SUMMARY
rin ease Name Register Number Current Classification
ARMBRUSTER, GERRY A. $62006 3-A-L
Counsoloragont Name *
MAYBERRY, JEFFREY W.
Date/Time Location Type Method Staff/Title *
12/12/2008 10:42:09  SEGREGATION/IGRA Personal Face To Face MARSH, MICHAEL J., Corractional Counselor I

Comments: Conducted the intensive Case Management (ICM), Phase 1 follow-up for the Lifesiyle Redirection program; Offender Armbrustar Is in
Segregation status due to a fight he got into a couple of weeks ago, Offender Armbruster received t month *G*, 1 month GCC revocation,
1 month Seg, and 1 month Yard and Gym restriction. He was supposed to MSR in Dec '08 but now will leave in Jan ‘09. He says he
doesn't have any Issues or problems to talk about.

11/25/2008 13:59:10 HOUSING UNIT 14/GRA Personal Face To Face MARSH, MICHAEL J., Correctional Counselor iI

Comments: Discussed LEADS check and Verification of Incarceration fatter; he's got a clear LEADS check and he received a letter of Incarceration
from the Records Office for ¢ Legal malf-out.

14/18/2008 10:22:20 HOUSING UNIT T4/GRA Personal Face To Face MARSH, MICHAEL J., Correctional Counselor ||

Comments: Discussed clothing issue and LEADS check; told him to 6¢ patient about the LEADS check, ir. Balley says he's not going to issue him any
clothes because he's leaving next month. No athar issues at this time,

1112/2008 13:48:53 HOUSING UNIT 14/GRA Personal Face To Face’ MARSH, MICHAEL J., Correctional Counselor II

Comments: Discussed getting him a “new” Lifestyle certificate since his name was carracied in OTS: told him |'d get him a new one. Discussed a
LEADS check, fold him when time allows we'll gel fo i, No other issues.

11/4/2008 13:08:18 CLINICAL SERVICES/GRA Collateral Other MARSH, MICHAEL J., Correctional Counselor II

Comments: Offender completed the Lifestyle Redirection course and recelved his certificate of completion at the graduetion ceremony hald in the
chapel on 11/6/08. A copy of the certificate was filed in his Master file. Lifestyle Redlectian JCM will begin In agoroximately 30 days.

{0/8/2008 10:45:47 HOUSING UNIT 14/GRA Personal Face To Face MARSH, MICHAEL J., Correctional Counselor I
Comments: Offender Armbruster is halfway through the Lifestyle Redirection class and has a positive attitude, He participates in class discussion, role
laying, and other class activities, Barring any unforseen circumstances arising, he'll participate in the graduation festivities an 5 Nov 08 in
tha chapel.
9/9/2008 10:34:51 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELL! J.. Shift Supervisor

Comments: He wants to get a copy of his Birth Certificate, but he wants the Inmate Benefit Fund to pay for if, 1 fet him know that wouldn't hagpen
because he has monthly income, If he decides fo apply for the birth certificate, he will have to pay for it himself,

8/25/2008 12:20:57. HOUSING UNIT 14/GRA Personal Face To Face MARSH, MICHAEL J., Correctional Counsetor Il

Comments: Offender enrolled in the 12 week, Lifestyle Redirection cless that startad on 8/12/08 and ends on 10/20/08. Upon successtul completion,
ho wil graduate on 11/5/08 af 0900 in the chapel.

8/5/2008 10:35:53 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELLI J., Shift Supervisor
Comments: He told me that he went fo the Law Library fo research ihe statute for his case. Ha showed me some phofocoples of Ihe statute and hls
mmittimus, | let him know | would check with tha Record Office for an explanation.
7/29/2008 11:01:14 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELLI J., Shift Supervisor
Comments: He had made his way back to HU 14 and got his ofd jab back in Dietary since going to Seg. Just like in the old days, he had a milion
issues to discuss. Right now his main concern Is his charge. He says he wes convicted of having one unauthorized credit card, but IDOC
shaws three credit cards, He thinks that could work against him when he tries to get a job in the wortd,

 

 

 

 

 

 

 

6/4/2008 13:82:45 HOUSING UNIT 20/GRA Personal Face To Face SIMBURGER, KEVIN D., Correctional Counselor II

Comiments: This offender came in to my offee and wa discussed a few Issues, He talked about warrants end he does not have any right now.
8/22/2008 10:50:20 HOUSING UNIT 20/GRA Personal -Face To Face SIMBURGER, KEVIN D., Correctional Counselor Il

Comments: This offender came in to see me and said that he is doing ok. Ha asked how much money If any on the books? | fold him he will have to ask

commissary when he goes.

6/15/2008 16:17:34 SEGREGATION/GRA Personal Facs Te Face ROBERSON, WILLIAM C., Correctional Counselor III

Comments: The inmate was seen while making rounds in the SEG unit. He said he didn't have anything to ask or discuss right now.
4/25/2008 13:66:04 SEGREGATION/GRA Personal Face Ta Face ROBERSON, WILLIAM C., Correctional Counselor lil

Comments: The inmate was seen while making rounds during a Level 7 lockdown, The inmate oidn't have anything to ask or discuss at this time,
3/25/2008 10:48:19 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELL! J., Shift Supervisor

Comments: He had questions about the new dog laws. He Is sweating his parote site, aven though he doesn't go hame until December.
2/19/2008 11:34:63 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELLI J., Shift Supervisor

Comments: i thanksd me for seiting him up with the Psychologist. He sald he will be seeing her every other week. He said he is also on the waiting
1/28/2008 11:42:03 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELLI J., Shift Supervisor

Camments: He came In asking the same questions he asks every week, Does he have any warrants, what about his good tine, eic.? He sald his
head "spins like a fop" and he cant remember things. He wants fo see a Psychologist, says he has pul in same request slips, but hasn't
seen anyone yet. | sent. an Outlook to our Mental Health staff.

10/24/2016 . Page 12 of 16 “Assigned Counseior/Agant and Staff's tiffe is current as of the date of this
DOC 1711 (Rev. 10/86) PC Generated report, not the date of the counseling suAiMBRUSTER TCC (CR) 0013
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page140f17 Page ID #255

State of MHinois
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

 

InmateResent Release Name Register Number Current Classification
ARMBRUSTER, GERRY A. $02006 3-A-L
 CounusloriAgent Name *

MAYBERRY, JEFFREY W.

Date/Time Location Type Method  Staff/Title *

1/15/2008 11:48:05 HOUSING UNIT 14/GRA "Personal Face To Face JONES, KELLI J., Shift Supervisor

Comments: i called him In to the office in response io the numerous request slips he had sent ta me, His concer is over his good time, bul since he
has nol received @ calculation sheet for his parole case, he will have to wait palienily. | stressed “patiently" to him. He seid he understood.

12/28/2007 14:48:27 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELLIJ., Shift Supervisor
Comments: He claims to never have received a calculation sheet for his parole case. | informed him that he needs to be paiiant. He thinks he may
Send @ request slip in to gat in to school.
12/18/2007 10:18:51 HOUSING UNIT 14/GRA Personal Face To Face JONES, KELLIJ., Shift Supervisor
Comments: He recenily moved in trom HU 18, He ran the same questions by me that he had asked his previous counselor. Me hopes to get work
releese, { informed not fo get his hopes up since he has a blue ID.
1210/2007 14:37:28 HOUSING UNIT 18/GRA Personal Face To Face MARSH, MICHAEL J., Cotrectional Counselor Ii
Comments: Discussed his “Moderaia” escape risk and blues ID he recently received for an AWOL at Sangamon County for 3 FTA's on 9/25/07. He
says he was in Walls drug rehab canter Jacksonville IL and cauldn't make if to court. Wil chack Master file io see if there's anything fo
substantiate that, otherwise the Moderate ascape risk will stay on his record.

 

 

14/8/2007 08:42:43 X HOUSE B WING/GRA Personal Face To Face WILSON, DANIELA., Correctional Counselor Hl
Comments: interviewed inmate as part of the R&C intake process, Completed counselor portion of ARGS at this time.
(Ait 2/2006 11:23:24 CASEWORK Collateral Other SUTOR, JEFFREY O., Correctionat Casework Supervisor
Comments: SUPERVISORS
, OFFICE/HIL

Sangamon County has been contacted regarding your warrant and Indicate they will not pick you up on your release date. The warrant has
geographic limits and you are outside thase limits.

 

 

11/29/2006 16:38:54 HOUSING UNIT 3/HIL Collateral - Other MCRAVEN, JAMES W., Corractlonal Counselor II
Comments: A gilevance concerning his discharge date (1-2-2007) was returned to the inmate for additional /specifie information.
11/27/2006 10:18:07 CASEWORK Collateral Other SUTOR, JEFFREY ©., Correctional Casawork Supervisor
. SUPERVISORS
Comments: OFFIGE/HIL

in response fo your request siip regarding your Sangamon county warrant, | have no idea if a verification of incarceration will resutt in them
doing anything. ‘You appear to have little to jose other than a few minutes of time and some postage.

 

W21/2006 14:32:08 CASEWORK Colfateral Other SUTOR, JEFFREY 0., Correctonal Casework Supanisor
Cornments: SUPERVISORS
OFFICE/HIL

in response to your request slip you have pending charges in Sangamon County for failure to appear on charges of Driving with a
Suspended License and No Proof of Insurance. The case number Is 04TR9901. It appears basad' on noies in your fite that thay may pick
you up on your release date. No definite answer can ba given on that #s they will not be contacted to make those arrangements until!
around two weeks prior fo your projected release date.

 

M115 /2008 10:28:28 CASEWORK Parsonal Face To Face SUTOR, JEFFREY O., Corectional Casework Supervisor
Comments: SUPERVISORS
‘ OFFICE/HIL

inmate was seen on call line and had questions regarding sentence calculation. He was advised it was changed because he had received
4 new sentence prior to seeing the Prisoner Review Board and the prior calculation had been incorrect. He asked if fe had any warrants or

 

 

 

 

 

detainers.
11/13/2006 12:26:28 RECORDS OFFICE/HIL Collateral Other HUTCHCROFT, PAMELA J., Account Technician [
Comments: Attached is the verification of incarceration you requested. You can take it to tha Library to gat the twa additional copies you requested,
11/2/2006 11:05:35 RECORDS OFFICE/HIL Collateral Other HUTCHCROFT, PAMELA J., Account Tachnician |
Comments: An inquiry was sant to Sangamon County Sheriffs Department on 10/22/06 regarding any possible warrants. You will be notified ff we are
advised of an active warrant.
10/28/2006 15:57:18 ACADEMIC/HIL Personal Face To Face = MCRAVEN, JAMES W., Correctional Counselor ll
Comments: Seen on four, states ha is fine.
40/20/2006 08:37:48 RECORDS OFFICEHIL Collateral Other LIVERMORE, FAYE C., Office Coordinator
Coriments; information in your Master File shows that @ release on a hold from Sangamon County Sheriff has been released as of 7/7/2008.
10/5/2006 10:18:29 RECORDS OFFICEMIL Collateral Other HUTCHCROFT, PAMELA J., Account Technician |

Comments: Accarding to the offender tracking system you have no active warrants. However, if you belleve you have ar outstanding warrant, If is your
responsibility io contact ihe county in which it was issued.

10/24/2016 a Page 13 of 16 “Assigned Counselar/Agent and Staffs title s current as of the date of this
DOC 1711 (Rev. 10/88) PC Generated report, not the date of the counseling suAAMBRUSTER TCC BSR
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page15o0f17 Page ID #256

State of Illinois
Gepartment of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

 

 

inmateltesidentheleaae Name Register Number Current Classification
ARMBRUSTER, GERRY A. S02006 3-AcL.

CounsslonAgent Name *

MAYBERRY, JEFFREY W.

Date/Time Location Type Method Staff/Title *

{O/2/2006 08:48:19 RECORDS OFFICE/HIL Collaterai Other LIVERMORE, FAYE C., Office Coordinator

Comments: We have reviewad the Offender Tracking System and there are no warrants lodged against you at this time. This does not mean that you
have no warrants, only thet we have not received the warrant and/or been asked to lodge it against you. If you know of an outstanding
warrant or case, itis up to you to confact the county in which it would have been issued.

 

 

 

9/19/2006 16:14:45 HOUSING UNIT 3/HIL Personal Face To Face MCRAVEN, JAMES W., Correctlonal Counselor Il
Comments: Seen on hoysing four, You are now approved to parole to Dora McKinney residence in Springfiled.

9/7/2006 12:57:23 ACADEMIC/HIL Personal Face To Face MCRAVEN, JAMES W., Correctional Counselor II
Comments: Seen on acad tour, You were approved to parale to the Bil! Armbruster residence.

8/25/2006 08:22:53 CASEWORK Collateral Other SUTOR, JEFFREY O., Correctional Casework Supervisor
Conmens: SEIMISORS

in response fo your racent request In the housing unit atteched are ceples of your sentencing order end sentence calculation, We are
aware of no warrants for you at this ume,

 

 

 

 

 

8/22/2006 13:37:50 RECORDS OFFICE/HIL Collateral Other LIVERMORE, FAYE C., Office Coordinator
Comments: Copy of Verification incarceration sent upon inmate request.

8/15/2006 10:40:47 HGUSING UNIT 3/HIL Personal Face To Face SUTOR, JEFFREY 0., Correctional Casework Supervisor
Comments: inmate had questions regarding his time calculation and wanted to know if a LEADS check could be done prior to his release,

7/28/2006 15:49:14 HOUSING UNIT 4/HIL Collateral " Other SIMONSON, STANLEY W., Correctional Casework Supervisor
Comments: Visiting list siamified, (** VICTIM(S)-. }

7/26/2006 16:44:26 HOUSING UNIT 4/HIL Personal Faca To Face  SIMONSON, STANLEY W., Correctional Casework Supervisor

Comments: inmate claims he has (2) warrants from Sangamon County lodged against him (for Escape and a traffic issue). Inmate stated his girfriend
contacted Sangamon Co, but the county wouldn't release any information to her. Inmate asked this writer for any assistance.

 

7/25/2006 12:01:27 CASEWORK Collateral Other SUTOR, JEFFREY ©., Correctional Casework Supervisor
Comments: SUPERVISORS
OFFICE/HIL

in response {9 your request slip regarding trust fund money af Graham CC be advised Counselor Simonson has contact Graham CC trust
fund and requested any funds you have there be forwarded to Hilf CC. . .
7/25/2006 09:53:40 RECORDS OFFICE/HIL Collateral Other HUTCHCROFT, PAMELA J., Account Technician 1

Comments: According te the offender iracking sysfem you have no oulstending warrants al this time. However, if you belleve you may have an active
warrant lodged against you, if is your responsibility to contact the county in which it was issued. Sangamon County did release a hold they
had on you according to a fax dated 7/7/06; however, it had not been entered in the offender tracking system.

 

 

 

TH2272006 11:34:02 HOUSING UNIT 4/HIL Collateral Other SIMONSON, STANLEY W., Correctional Casework Supervisor
Comments: Submitted offender for Supplemental Meritorious Good Time (53 Days} and Meritarlous Good Time.

7/18/2006 13:43:58 HOUSING UNIT 4/HIL Personal Face To Face  SIMONSON, STANLEY W.,, Correctlonal Casework Supervisor
Comments: Graham CC was contacted about monay at that institutior.

7H 3/2006 14:44:22 HOUSING UNIT 4/HIL Personal Face To Pace SIMONSON, STANLEY W,, Correctional Casework Supervisor

Comments: Requested io he submitted for MGT/SMGT on new sentence. inmate stated the PRB has finalized his violation issue. Requested a
Telehone Request Form (Sent). Stated he still has monay at Graham. (7/18/06- Inmate's request for a telephone was deniad by
administration, memo sent}

6/21/2006 12:49:17 ROUSING UNIT 4/HIL Personal Face ToFace SIMONSON, STANLEY W., Correctional Casework Supervisor

Comments: Requested to be submitted far MGT/SMGT. (mamo sent- Inmate needs io finalize his parole violation with the PRB. Inmate was informed to
contact his counselor when the PRB has finallzed their decision)

 

 

5/12/2006 14:07:08 ORIENATION UNIT/HIL Collateral Other MCRAVEN, JAMES W-., Correctional Counselor iI
Comments: visit list submitted

5/10/2006 13:29:39 ORIENATION UNIT/HIL Parsonal Face To Face MCRAVEN, JAMES W., Correctional Counselor Il
Comments: inmate seen on housing tour. Discussed technical MSR viciation, will need @ PRB hearing.

6/5/2006 13:38:08 ORIENTATION/HIL Personal Face To Faca JOHNSTON, EVELYN V., Correctional Counselor 1

Comments: Offender participated in Orfentation process and was provided with the Orientation Manual, Issued Orientation Manual in Spanish to
Offenders with poor English skills, Offenders signed for manuals. Offender Pre-Release identification Checklist initisted. Provided
Telephone Pin # form and Visiting List form and explained procedures. Ail Offenders were informed of House Bil! 589 and explained
process for appiication.

10/24/2016 Page 140f16 “Assigned Counselor/Agent and Staffs thle /s current as of f fe of this
DOC 17114 (Rev. 10/86) PC Generated report, not the date of the counseling sAABMESUSTER #8 (Hye
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page16o0f17 Page ID #257

State of lilinois
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

nmatetesideng Release Name Register Number Current Glassifiestion
ARMBRUSTER, GERRY A. $02006 3-AeL

 

 

 

Counselor/Agent Name *
MAY BERRY, JEFFREY W.

 

 

 

Date/Time Location Type Niethod Staff/Title *

6/2/2008 14:08:54 ORIENATION UNIT/HIL Collateral Other JEFFERSON, SALLY N., Correctional Counselor II

Comments: Inmate fs returned as a technical parole violator with a theft arrest, Inmate's file is nat completa at this time. inmate self admilfed cocaine
abuse during classification iniarview.

6/21/2005 10:13:35 HOUSING UNIT 2-A/TAY Personal FaceTo Face GLOW, TIMOTHY W., Correctional Counselor [1]

* Comments: = Came and asked for e phone call he was told no. He says his father and gittiriend are coming fo get him and he does not want them both
io crlve here. Suggested tha? ha write them and he said it's fo late, explained if wasn't to late when he found out ihéy were both coming.

 

 

 

6/18/2005 12:58:11 HOUSING UNIT 2-A/TAY Personal Face To Face EVANS, ROBERT W., Correctional Counselor JI
Comments: INMATE GRANTED CALL TO FAMILY TO CONFIRM FAMILY PIGKUP. INMATE LEFT MESSAGE ON MA CHINE, EXPECTING A
RETURN RESPONSE. ‘
@/8/2005 15:06:57 LIFESTYLE REDIRECTION Personal Face To Faca HARDWAY, JULIE, Clinical Services Supervisor
Comments: PROGRAM/TAY
Gave offender call fo host fo ensure he was a femily pick-up. informed him this is the last call he will ba given,
B/B/2005 13:15:23 HOUSING UNIT 2-A/TAY Personal Face To Face §=MCDOWELL, ADAM R., Correctional Casework Supervisor

Comments: Per fleld services, allowed him fo phone his parole host to ensure that someone is coming to pick him up when he Is released. He left a
message, | advised him that if | receive any information concerning his parole pick-up, | will advise him.
6/7/2005 10:08:39 HOUSING UNIT 2-A/TAY Personal Face To Face MCDOWELL, ADAM R., Corectional Casework Supervisor

Comments: Spoke with him on a call line, Discussed the request slip he sent the Werden concerning joint visiting privileges with his /
f advised him that the joist visits will anly be approved for family members. He stated that the indimauals that they
Soh wanted to visit with ara not family mambers. He stated that he is preparing to MSR in "a couple of weeks" and dossn't care about the
joint visits any longer.
5/20/2005 08:43:43 HOUSING UNIT 4-B/TAY Personal Faca To Face 9 COADY, MICHAEL J., Shift Supervisor
Comments: Intrate saw re yesterday in HU4, He complained about another inmate grabbing him around the neck and alse spitting in his face, 1
completed a DC434 and turned if in to the 2nd shift Major Gibson atr about 3:45pm, | also gave acopy fe Infernal Affairs. Upon reviewing
this moming, im was moved to a different housing unit.
8/11/2005 14:48:19 HOUSING UNIT 4-8/TAY Personal FacaTofaca COADY, MICHAEL J., Shift Supervisor

Comments: Inmate wanted to check his residence Plan, stil "I status. Later same day, inmates father called in and said he would let him parole thers.
Terry White contacted and said he would approve the plan.

 

 

 

 

 

 

5/6/2005 09:20:20 HOUSING UNIT 4-B/TAY Personal Face To Face = =COADY, MICHAEL J., Shift Supervisor
Camments: informed inmate he recently had a residence plan denied and another show investigative status,
4/29/2005 15:26:24 . HOUSING LUINIT 4-B/TAY Personal Face To Face  COADY, MICHAEL J., Shift Supervisor
Carnments: inmate wanted fo check his residence plan status. Stil shows in investigative status.
4/25/2005 10:17:47 VOCATIONAL Personal Face To Face MCDOWELL, ADAM R., Correctional Casework Supervisor
Comments: SCHOOLITAY
Spoke with him in PreStart this morning. He completed an O1Q and [ updated his information on the CHAMP system.
4/15/2005 14:56:40 HOUSING UNIT 4-B/TAY Personal FaceTo Face  COADY, MICHAEL J., Shift Supervisor
Comments: discussed residence pian being looked info a second fine.
4/14/2005 08:13:58 CLINICAL SERVICES/TAY Personal Face To Face MCDOWELL, ADAM R., Correctional Casework Superisor
Comments: Per field services, allowed him to phone his Friend, . _ concerning his perois pian. She has not decided at this tine whether or not she
will give him permission. | advised her fo contact field services If she decides to allow him io reside with har upon his release,
4/13/2008 13:39:04 HOUSING UNIT 4B/TAY Personal Face To Face MCDOWELL, ADAM R., Correctional Casework Supervisor

Comments: Advised him that his parole pian has not been approved ai this time. Discussed the difficulty of placing him in a halfway house of Als
choice. He sisted that he will attempt to be approved fo his father's house.

 

 

 

4/1/2005 10:04:26 HOUSING UNIT 4-B/TAY Personal Face To Face  COADY, MICHAEL J., Shift Superdsor
Comments: discussed having falked to Tim Lawrence, psychologist, inmate apologized again far not completing an assignment given, and, also
discussed lifestyle classes.
3/24/2005 12:38:23 HOUSING UNIT 4-B/TAY Personal Face Toe Face COADY, MICHAEL J., Shift Supervisor
Comments: inmate apologized for not having turned in an assignment to me that he was give,
3/10/2005 14:54:33 HOUSING UNIT 4-B/TAY Personal Face To Face COADY, MICHAEL J., Shift Supervisor

Comments: inmate seid he wanted to talk about a number of things that are bothering him. He agreed to put his thoughts on paper and bring them
back fo discuss. Also discussed taking the lifestyle redirection program. inmate said he would like to take it, Gallad Julia and had inmate

 

put on list. ,
2/28/2005 10:20:25 HOUSING UNIT 4-B/TAY Personal Face To Face COABY, MICHAEL J., Shift Supervisor
Comments: informed inmate he was denied work refease because he was too close to his msr date

10/24/2016 ~ Page 48 0f16 ‘Assigned Counssior/Agent and Staffs title is current as of the date of this
DOC 1711 (Rev. 10/86) PC Ganerated report, not the date of the counseling sudfHABRUSTER TCC (CR) 0016
Case 3:16-cv-00544-MAB Document 51-4 Filed 12/14/16 Page1/7of17 Page ID #258

State of Illinois
Department of Corrections

CUMULATIVE COUNSELING SUMMARY

 

 

 

 

 

 

 

TinmataReeidentmolsase Name Regkter Number Gurrunt Classification
ARMBRUSTER, GERRY A.. $02006 3-A-L

CounselodAgent Name *

MAYBERRY, JEFFREY W.

Date/Time Location Type Method Staff/Title *

2/25/2005 13:32:10 RECORDS OFFICE/TAY Collateral Other RIGGS, ROBIN G., Public Service Administrator

Comments: File review has been completed, escape risk entered and good time submitted. No history of violence noted on tap sheet, CSR dated
1/7/06 states that he completed the 1 1{h grade, has been unemployed, is married with 3 chifdren and danies drug or alcoho! abuse.

2/21/2005 14:54:52 HOUSING UNIT 4-B/TAY Personal FacaTo Face  COADY, MICHAEL J., Shift Supervisor

 

 

Comments: Informed inmate his work release shows it is walting wardens signature
2/2/2005 10:44:15 HOUSING UNIT 5-A/TAY Personal Face To Face CLOW, TIMOTHY W., Correctional Counselor Ill
Comments: Discussed good time and projected out date to be 7-30-05. Discussed good tims EGCC and what he may ba able to do to earn this good
time.
1/28/2005 13:12:09 ORIENTATION Personal Face To Face MCDOWELL, ADAM R., Correctional Casework Supervisor
Comments: PRESENTATION/TAY

fnmate participated in Orientation process end was provided with the Orientation Manuel. Issued Orientation Manual in Spanish to inmates
with poor English skilis, Inmates signed for manuals, Provided Telephone Pirdt form and Visiting List form and explained procedures, Alf
inmates were informed of HB 589 and explained process for application.

40/24/2016 - Page 16 0f 16 ‘Assigned Counselor/Agant and Staffs titfe is current as of the date of thig
DOC 1711 (Rev. 10/86) PC Generated report, not the date of the counseling suff MBRUSTER TCC (CR) 0017
